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IN THE UNITED STATES DIS'I`RICT COURT FOR THE
WESTERN DISTRICT ()F OKLAHOMA

MGM RESTAURANTS, INC., and
WWRS INC., dfb/a MAZZIO’S,

Plaintiffs, No. CIV-12-485-W

V.

PHILADELPH_IA INDEMNITY
INSURAN`CE COl\./IPANY,

Defendant.
NOTICE OF DISMISSAL WITH PRE.]UDICE

Pursuant to Fed. Rule Civ. P. 4 l(a)(l)(A)(i), Plaintiffs, MGM Restaurants, Ine., and
WWRS Inc., d/b/a Mazzio’s, hereby stipulate that this action and all claims herein are
dismissed With prejudice as to Defendant, Philadelphia Ind_emnity Insurance Company]‘.
Each party is to pay its own attorneys fees and costs as may have been incurred and are due

in this action'.

 

l Philadelphia lndemnity Insurance Company has not entered an appearance in this matter; thns, it is not
necessary that Philadelphia Indemnity Insuranee -Company join in this Disrnissal. Fed. R. Civ. Proc. Rule

41 (a)(i)(A)(ii).

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Respectfully Subrnitted,

S/ Arnv R. Steele

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Aniy R. Steele, OBA No. 20344

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